Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 1 of 16

disfavored precisely because it can lead to double recovery, as well as because the necessary
causal link between the actions of the primary violator and the party claiming injury is too
remote.” Jackson Nat’l Life Ins. Co. v. Ligator, 949 F. Supp. 200, 204 (S.D.N.Y. 1996). For

that reason, plaintiff's rebate claims should be dismissed.

B. There Is No “Implied” Right of Action Under Either The Federal or State
Best Price Statutes Or Regulations.

In Counts II through IV of the Amended Complaint, plaintiff asserts causes of
action directly under federal and state statutes, 42 U.S.C. 1396r-8 (Count II), N.Y. Soc. Serv.
Law § 367-a(7)(d) (Count III), and under New York Department of Health regulations, 18
N.Y.C.R.R. $§ 515.2(b)(4) and (5) (Count IV), for defendants’ alleged misreporting of Medicaid
drug prices. Because there is also no “implied” remedy under these laws in favor of Suffolk,
Counts II, II and IV must be dismissed. Furthermore, the federal rebate statute, which expressly
grants only the Secretary of HHS a remedy, preempts plaintiff's best price claims asserted under
state law.

1, Federal Law Precludes An Implied Remedy.

Federal statutes give rise to civil actions only where Congress has unambiguously
provided for both a private right and a private remedy. Alexander v. Sandoval, 532 U.S. 275,
286 (2001) (citing cases).23 “Unless [ ] congressional intent can be inferred from the language of
the statute, the statutory structure, or some other source, the essential predicate for implication of

a private remedy simply does not exist.” Mass, Mutual Life Ins, Co. v. Russell, 473 U.S. 134,

23 The issue of whether a federal statute creates a private cause of action is distinct from the
question of whether a claim presents a substantial federal question for purposes of federal
jurisdiction.

25
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 2 of 16

145 (1985); see also Touche Ross & Co. v. Redington, 442 U.S. 560, 578 (1979) (remedy will
not be implied absent clear congressional intent).
The federal statute on which the County relies (42 U.S.C. § 1396r-8) provides no

remedy on behalf of the County. The statute contemplates a Rebate Agreement between the

Secretary and a manufacturer,” The only other party mentioned is the State, which has the
responsibility of providing to manufacturers the utilization data for drugs in the State’s Medicaid
program during the period in question. 42 U.S.C. § 1396r-8(b)(2)(b). The statute’s plain
language “focus[es] on the person regulated rather than the individuals protected [and therefore]
create[s] no implication of an intent to confer rights on a particular class of persons.” Sandoval,
532 U.S. at 289 (citing California v. Sierra Club, 451 U.S. 287, 294 (1981)). For this reason
alone, plaintiff's 42 U.S.C. 1396r-8 claim should be dismissed.

Plaintiff's § 1396r-8 claim should also be dismissed because the Medicaid statute
expressly incorporates an “interlocking, interrelated, and interdependent remedial scheme,” with
which an implied remedy cannot be reconciled. See Mass. Mutual Life, 473 U.S. at 146. The

statute authorizes the Secretary to oversee and enforce a manufacturer’s compliance with the

. 25 .
terms of its Rebate Agreement. Further, § 1396r-8 empowers the Secretary to terminate

manufacturers that violate their Rebate Agreement. 42 U.S.C. § 1396r-8(b)(4)(B).

74 42 U.S.C. § 1396r-8(a)(1) states “In order for payment to be available under section 1396b(a)
of this title for covered outpatient drugs of a manufacturer, the manufacturer must have entered
into and have in effect a rebate agreement described in subsection (b) of this section with the
Secretary, on behalf of States ....”

25.42 U.S.C. § 1396r1-8(b)(B), entitled “Verification surveys of average manufacturer price,”
states in relevant part: “The Secretary may impose a civil monetary penalty in an amount not to
exceed $100,000 on a... manufacturer ... if the manufacturer ... refuses a request for
information about charges or prices by the Secretary ... or knowingly provides false
information.”

26
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 3 of 16

Significantly, the rebate statute, 42 U.S.C. § 1396r-8(b)(3)(c)(ii), specifically
incorporates 42 U.S.C. § 1320a-7a by reference. In § 1320a-7a, Congress accords the Secretary
a spectrum of enforcement powers that include not only administrative remedies, but also a
complete set of civil litigation tools. For example, the Secretary may (1) impose monetary fines,
including, under some circumstances, treble damages, (2) exclude a violator from participating in
federal health care programs, and, when necessary (3) initiate civil proceedings. See 42 U.S.C. §
1320a-7a(a)(7) and 42 U.S.C. § 1320a-7a(c)(1). In addition, the Secretary may also issue
subpoenas and seek injunctive relief. 42 U.S.C. 1320a-7a(j) and (k).

The remedies granted to the Secretary under 42 U.S.C. 1396r-8 and 42 U.S.C.
1320a-7a(}) and (k) compare favorably with the extensive network of remedies that the Supreme
Court found precluded any implication of private remedies in Transamerica Mortgage Advisors,
Inc. v. Lewis, 444 U.S. 11 (1979). There, the Court examined a statute that, like the Medicaid
statute at issue here, “provided both judicial and administrative means for enforcing
compliance.” Transamerica Mortgage, 444 U.S. at 20. The Transamerica court found that no
private remedy should be implied where Congress had authorized the Securities and Exchange
Commission to bring civil actions in federal courts to achieve compliance and was further

empowered to impose various administrative sanctions. /d. at 20-21.

42 U.S.C. § 1396r-8(b)(3)(C)(i), entitled “Failure to provide timely information”, states in
relevant part: “In the case of a manufacturer with an agreement under this section that fails to
provide information [to the Secretary] required under subparagraph (A) on a timely basis, the
amount of the penalty shall be increased by $10,000 for each day in which such information has
not been provided ....” The statute also calls for suspension of the Rebate Agreement after 90
days of non-compliance.

42 U.S.C. § 1396r-8(b)(3)(C\ii), entitled “False information” assesses a penalty of $100,000 on
any manufacturer that “knowingly provides false information” and further states “[s]uch civil

27
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 4 of 16

Here, as in Transamerica, Congress has unambiguously provided the Secretary
with extensive enforcement powers. This Court should not imply a remedy not contemplated by

Congress.

2. N.Y. Soc. Serv. Law § 367-a(7)(d) Does Not Support An Implied
Private Right Of Action.

Under New York law, a plaintiff must satisfy a three-prong test to demonstrate
that a private right of action can be implied from a New York state statute.2¢ Specifically, the
plaintiff must show that (1) it is part of the class for whose particular benefit the statute was
enacted; (2) recognition of a private right of action would promote the legislative purpose; and
(3) creation of an implied private right of action would be consistent with the legislative scheme.
See Sheehy v. Big Flats Cmty. Day, Inc., 541 N.E.2d 18, 20 (N.Y. 1989); Burns Jackson Miller
Summit & Spitzer v. Lindner, 451 N.E.2d 459, 463-66 (N.Y. 1983); CPC Int'l Inc. v. McKesson
Corp., 514 N.E.2d 116, 118-19 (N.Y. 1987). None of these tests are met here.

Social Services Law § 367-a(7)(d), does not aim to benefit counties; rather, it

merely declares that the State will do what is necessary to comply with section 1927 of the

federal Social Security Act, 42 U.S.C. § 1396r-8.. Section 367-a(7)(d) does not purport to

money penalties are in addition to other penalties as may be prescribed by law and expressly
incorporates the provisions of 1320a-7a of this title.”

26 Federal courts apply the state-law decisional test when considering whether a right of action is
implied in a state statute. See Grenier v. Kennebec County, 748 F. Supp. 908, 913 (D. Me. 1990)
(applying Maine law to conclude that Maine statute did not provide implied private right of
action).

27 N.Y. Soc. Serv. Law § 367-a(7)(d) states in relevant part that: “Notwithstanding any
inconsistent provision of law, if a manufacturer . . . has entered into a rebate agreement with the
department or with the federal secretary of health and human services on behalf of the
department under section 1927 of the federal social security act, the department shall reimburse
for covered outpatient drugs which are dispensed under the medical assistance program to all
persons . . . only pursuant to the terms of the rebate agreement between the department and such

28
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 5 of 16

confer any benefit on the counties; it was not intended to supplant the federal enforcement
scheme with a right of action in individual social services districts (/.e., counties); and the
creation of a private cause of action under state law could create conflicts with the federal
scheme. For the same reasons discussed above in connection with the federal statute, therefore,
Count III of the Amended Complaint should be dismissed.

3. 18 N.Y.C.R.R, §§ 515.2(b)(4) and (5) Contain No Indicia That
Support An Implied Private Right Of Action.

In asserting claims under New York State Medicaid regulations, 18 N.Y.C.R.R.
§ 515.2(b}(4) and (5), the County fails to note that companion regulations grant enforcement
power exclusively to the New York Department of Social Services (the “Department”). See also
Enrico v. Bane, 623 N.Y.S.2d 25, 27 (N.Y. App. Div. 1995) (stating New York Department of
Social Services is “the agency responsible for administering Medicaid [and] the Department is
authorized to recoup overpayments as a result of mistake [or] fraud ...”).

Specifically, section 515.9, entitled “Overpayments”, provides that overpayments

“identified pursuant to any investigation under this Part” may be recovered “in accordance with

Parts 518 and 520 of this Title” (emphasis added). Section 518.5(c), in turn, states that the

Department “reserves the right to initiate or participate in civil proceedings, including actions at

law or in equity to recover any overpayment.” The individual social service districts are not

28
mentioned. Thus, Suffolk is not part of “the class for whose particular benefit” the regulation

manufacturer.... The department in providing utilization data to a manufacturer (as provided
for under section 1927(4)(b)(1)(A) of the federal social security act) shall provide such data by
zip code, if requested, for drugs covered under a rebate agreement.”

28 The language and structure of 18 N.Y.C.R.R. § 515 make clear that the regulations limit the
power to police and enforce violations of New York’s Medicaid program to the Department of
Social Services. See 18 N.Y.C.R.R. § 515.3(a) “the department may impose ... sanctions”; 18

29
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 6 of 16

was adopted. Sheehy, 541 N.E.2d at 20. Further, implying a private right and remedy on behalf
of every political subdivision in New York would not “promote the [apparent] legislative
purpose” to centralize oversight and enforcement by expressly assigning that role to the
Department. /d. Rather, implying rights in favor of each individual county raises the specter of
competing and inconsistent outcomes, which cannot be “consistent with [any] legislative

scheme.” /d. Accordingly, Count IV of the Amended Complaint should also be dismissed.

Cc. Plaintiff's State Law Claims Are Preempted.

In contrast to N.Y. Soc. Serv. Law § 367-a(7)(d), upon which Count IIT is based,
and 18 N.Y.C.R.R. § 500, e¢ seg., upon which Count IV is based, N.Y. Soc. Serv. Law § 145-b,
upon which Count V is based, does expressly provide a civil remedy for the “local social service
district” (i.e. a county). Social Services Law § 145-b is a general statute that applies to any false
statement made in connection with an attempt to obtain public funds, not just those limited to
Medicaid. See New York y. Britt, 529 N.Y.S.2d 228, 229 (NLY. App. Div. 1988) (assessing
damages against transcription service for state health department’s Office of Disability
Determinations which submitted false claims for amount of transcription work provided).
Plaintiff's efforts to apply that statute to defendants’ reporting under provisions of the federal
rebate statute and their Rebate Agreements with HHS are preempted by federal law. See
Defendants’ Motions to Dismiss the Montana Attorney General’s and Nevada Attorney

General’s actions, which are incorporated by reference herein.2°

N.Y.C.R.R. § 315.3(b); “the department may ... require the repayment of overpayments ...”; 18
N.Y.C.R.R. § 515.4(a) “[a] sanction may be imposed at the discretion of the department”.

2° For the same reasons, if this Court were to find that Suffolk did have implied rights of action
under the other state statutes and regulations on which Counts III] and IV were based, those
Counts should nevertheless be dismissed on preemption grounds.

30
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 7 of 16

D. Suffolk County Is Not The Intended Beneficiary Of The Best Price Rebate
Agreements With Manufacturers And In Any Event, Its Breach of Contract
Claim is Preempted.

Plaintiff's breach of contract claim (Count VI) is based on the theory that Suffolk
County is a third-party beneficiary of the Rebate Agreements between the Secretary of HHS and

the defendants. (Am. Compl. ff] 386-88.) The form Rebate Agreement expressly provides that

its interpretation is governed by federal common law. As with state contract law, federal
common law provides that a third party to a contract may sue for breach only if he is the
“intended beneficiary” of the contract. Pharm. Research & Mfrs. of America v. Walsh, 123 S.
Ct. 1855, 1878 (2003) (Thomas, J., concurring in judgment); Mortise v. United States, 102 F.3d
693, 697 (2d Cir. 1996). Both federal courts applying federal law and New York courts applying
state law have adopted the Restatement (Second) of Contracts approach in determining whether a
third party is an intended beneficiary. Klamath Water Users Protective Ass’n. v. Patterson, 204
F.3d 1206, 1211 (9th Cir. 2000); D'Amato vy. Wisconsin Gas Co., 760 F.2d 1474, 1479 (7th Cir,
1985); Faizarano v. United States, 607 F.2d 506, 511 (1st Cir. 1979); Davis v. United Air Lines,
Ine., 575 F. Supp. 677, 680 (E.D.N.Y. 1983); Fourth Ocean Putnam Corp. v. Interstate
Wrecking Co., 485 N.E.2d 208, 212 (N.Y. 1985).

Under the Restatement, (1) “[ujnless otherwise agreed between promisor and
promisee, a beneficiary of a promise is an intended beneficiary if recognition of a right to
performance in the beneficiary is appropriate to effectuate the intentions of the parties” and (2)

either (a) “the performance of this promise will satisfy an obligation of the promisee to pay

3° Section [X(e) provides that: “The rebate agreement shall be construed in accordance with
Federal common law and ambiguities shall be interpreted in the manner which best effectuates
the statutory scheme.”

31
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 8 of 16

money to the beneficiary” or (b) “the circumstances indicate that the promisee intends to give the
beneficiary the benefit of the promised performance.” RESTATEMENT (SECOND) OF CONTRACTS,
§ 302(1) (1981). “[T]he standard of proof for third-party beneficiary status requires satisfaction
of [these] elements as to both parties to the contract.” Maniere v. United States, 31 Fed. Cl. 410,
417 (1994) (emphasis in original). Thus, Suffolk must show that both the Secretary and the
manufacturers intended to confer rights on the County when they entered into the Rebate
Agreements.

These two tests for intended beneficiary status are further qualified in the context
of contracts with a government or governmental agency by the provision that such status will be
denied “to the extent that application would contravene the policy of that law authorizing the
contract or prescribing for its breach.” RESTATEMENT (SECOND) OF CONTRACTS, § 313(1)
(1981); D'Amato, 760 F.2d at 1479. Suffolk is not an “intended beneficiary” of the Rebate
Agreements between the defendant drug manufactures (the promisors) and HHS (the promisee),
and it would contravene the rebate statute to allow counties to sue for breach of the Rebate
Agreements.

To allege third-party beneficiary status, a plaintiff must show that the contract not
only reflects an intention to benefit the party, but that it reflects intent to benefit the party
directly. Chancellor Manor vy. United States, 331 F.3d 891, 901 (Fed. Cir. 2003) (citations
omitted) (emphasis added). “This direct benefit requirement reflects the reality that third-party
beneficiary status is an ‘exceptional privilege.’” Jd. Typically, this is accomplished by an
explicit reference to the intended beneficiary in the contract. RESTATEMENT (SECOND) OF

CONTRACTS, § 304 cmt. b (1981).

32
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 9 of 16

There is no reference to Suffolk -- or any similar political subdivision -- in the
Rebate Agreement. The lack of “direct” benefit to Suffolk in the Rebate Agreements also
demonstrates that the County is not an “implied” intended beneficiary of the Rebate Agreement.
McCarthy v. Azure, 22 F.3d 351, 362 (1st Cir. 1994) (“Because third-party beneficiary status
constitutes an exception to the general rule that a contract does not grant enforceable rights to
nonsignatories . .. a person aspiring to such status must show with special clarity that the
contracting parties intended to confer a benefit on him.”). Mutuel Ticket Agents, Local 23293 v.
Roosevelt Raceway Assocs., 586 N.Y .S.2d 420, 421 (N.Y. App. Div. 1991) (“[T]he intent to
benefit a third party must be shown . . . and the benefit must not be merely incidental but
immediate to such a degree as to indicate the assumption of a duty to make reparation if the
benefit is lost... .’’).

In New York and every other state, manufacturers pay the rebates to the states.
The New York Legislature can decide how much of the rebate it wishes to share with New

York’s various political subdivisions. This means that Suffolk -- at best -- is an “incidental,” not

an “intended” beneficiary of the Rebate Agreements. RESTATEMENT (SECOND) OF CONTRACTS, §

302, cmt.b, illus. 3 (1981) (If promisor is to pay money to promisee so that promisec is ina
position to pay others, the others are at most incidental beneficiaries). The demarcation between
intended and incidental beneficiaries is especially strict in the context of government contracts,
where the law provides that third-parties who benefit are generally assumed to be incidental
beneficiaries and may not enforce the contract absent a clear intent to the contrary. Klamath
Water Users, 204 F.3d at 1211-12; see also Roedler v. Dep’t of Energy, 255 F.3d 1347, 1352

(Fed. Cir. 2001) (third party not expressly identified in a contract as a beneficiary of its

33
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 10 of 16

performance must point to contract provision showing the intention of the contracting parties to
provide a benefit to that person).
Finally, even if Suffolk could be deemed to be an “intended beneficiary” of the

Rebate Agreements, its breach of contract claim should be dismissed because the contract itself

and the rebate statutes preclude such a claim.” A third-party beneficiary is bound by contract
terms where its claim arises out of the underlying contract to which it is an intended beneficiary.
ELI DuPont De Nemours & Co. v. Rhone Poulenc Fiber & Resin Intermediates, S_A.S., 269 F.3d
187, 195-96 (3d Cir. 2001); 5” Bedford Pines Apariments, Ltd. v. Brandon, 262 F. Supp. 2d
1369, 1379 (N.D. Ga. 2003) (“A third-party beneficiary can enforce a contract only as written.”’).
Here, the Rebate Agreement’s confidentiality terms, which prevent states from seeing the price
data that manufacturers report to HHS, and the penalty provisions of the rebate statute provide
that only the Secretary of HHS may remedy any violations of the Rebate Agreement. It would
be inconsistent with that scheme to imply a right on the part of Suffolk to sue for breach of the

Rebate Agreement.

E. The New York Consumer Fraud Statute is Inapplicable.

The arguments made in Point I.E above -- which demonstrate that the New York
consumer fraud statute cannot be stretched to encompass Suffolk’s AWP claims -- apply with
equal force to Suffolk’s attempts to shoehorn its rebate claims into that statute (Count VII). In

sum, plaintiff has not, and cannot, show that: (1) defendants’ rebate activities were “consumer

3! Where a contract implements a statutory enactment, it is appropriate to inquire into the
governing statute and its purpose when determining the contractual and beneficial intent of the
parties. Roedler, 255 F.3d at 1352.

34
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 11 of 16

oriented;” (2) that defendants’ conduct was “misleading in a material way;” or (3) that plaintiff

suffered an injury “as a result of” any deceptive act.

Hil. PLAINTIFF’S FRAUD-BASED CLAIMS ARE NOT PLED WITH THE
REQUISITE PARTICULARITY.,

Rule 9(b) requires that a plaintiff set forth the “who, what, when, where and how”
of the alleged fraud. Gublo v. NovaCare, Inc., 62 F. Supp. 2d 347, 354 (D. Mass. 1999). The
Rule is applied to all claims sounding in fraud -- including those contained in Counts I, I, III,
IV, V, VU and VIII of the Amended Complaint, because they are all based on averments of
fraud. See Doyle v. Hasbro, Inc., 103 F.3d 186, 193-94 (1 Cir. 1996) (applying Rule 9(b) to
RICO claims); M&J Heat Transfer Products, Ltd. v. Willke, 131 F. Supp. 2d 256, 261 (D. Mass.
2001); Varney v. R.J. Reynolds Tobacco Co., 118 F. Supp. 2d 63 (D. Mass. 2000) (applying Rule
9(b) to consumer fraud acts); NCC Sunday Inserts, Inc. v. World Color Press, Ine., 692 F. Supp.
327, 330 (S.D.N.Y. 1988) (applying Rule 9(b) to state unfair trade practices statute).

Moreover, each defendant is entitled to know the specific facts that constitute its
purported fraud. See Vicom, Inc. v. Harbridge Merchant Servs., Inc.,20 F.3d 771, 778 (7" Cir.
1994) (RICO complaint dismissed where it “lumped together multiple defendants” and did not
“inform each defendant of the nature of his alleged participation in the fraud.”). In this
multidistrict litigation, the Court has required plaintiffs to specify as to each defendant (1) the
specific drug involved in the alleged fraud, (2) the allegedly fraudulent price for the drug, and (3)
the identity of specific purchasers of the drug. In re Pharm. Indus. AWP Litig., 263 F. Supp. 2d
at 194. Suffolk has not pleaded any of its fraud-based claims in accordance with these
requirements.

The AWP claims against defendants are nearly uniform, and consist of boilerplate
allegations of purported wrongdoing in connection with the pricing of their drugs. Counts II, III,

35
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 12 of 16

IV and V essentially allege that defendants made false statements in violation of various statutes
and regulations. In “Exhibit A” to the Amended Complaint, plaintiff provides “Suffolk’s
Estimated True AWP” in alleging that certain (but not all) defendants overcharged for their
drugs. However, the Amended Complaint provides no explanation as to how that number was
determined, or why it is different than the “Reported Average Wholesale Price” also provided in
the exhibit. As to its RICO claims, plaintiff fails to identify a single specific predicate act on the
part of any defendant, much less the specific concerted actions required to plead a RICO claim
with particularity under Rule 9(b). Plaintiff alleges that there was a “common course of conduct
with a similar pattern and purpose” between defendants (Am. Compl. § 352), but fails entirely to
describe in detail any conduct by individual defendants or explain how such conduct is related.
Absent these allegations, the RICO claim must fail.

The rebate claims fare no better. There is no allegation in the Amended
Complaint identifying who, if anyone, failed to report accurate AMPs and BPs to the federal
government. Nor is there any indication of what the fraudulent statements were, why they were
fraudulent, where they were made or when they were made. Plaintiff simply cites to settlements
between the federal government and a handful of defendants over unspecified conduct that was
neither admitted nor denied (Am. Compl. 11), and it states that its “initial research” indicates
that an alleged failure to report best prices is “pervasive”. (id. 13.) That is plainly insufficient
to satisfy Rule 9(b). In a case involving a specific product, at least one court has found “best
prices” claims to be insufficiently pled under Rule 9(b). See LaCorte v. Merck & Co., Inc., No,
99-3807, slip op. at 6 (E.D. La. Aug. 27, 2003) (dismissing claims for failure to identify dates or

authors, and explain why the data was false) (Defs. App. Ex. R).

36
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 13 of 16

Counts V and VII bring claims under New York’s False Statements and Unfair
Trade Practices statutes, and also fail to satisfy Rule 9(b). These claims are premised on
allegations of “false statements and representations and deliberate concealment of material facts”
by the defendants, yet Suffolk fails to identify with specificity any of those false statements or
material facts which were concealed. In order to satisfy Rule 9(b), more is required under these
statutes than vague reference to purportedly “fraudulent” prices. Count VIII, which brings a

claim for civil fraud, fails for the same reasons.

IV. PLAINTIFF HAS NOT ESTABLISHED A BASIS FOR TOLLING THE
STATUTES OF LIMITATION.

Suffolk alleges that the relevant statutes of limitation were tolled because
defendants fraudulently concealed the conduct that gave rise to plaintiffs alleged injuries.
Plaintiff's fraudulent concealment allegations must also be pled with the particularity required by
Rule 9(b). See J. Giels Band Employee Benefit Plan v. Smith Barney Shearson, Inc., 76 F.3d
1245, 1255 (Sth Cir. 1996). The fraudulent concealment allegations in the Amended Complaint
are totally devoid of detail (Am. Compl. {{{ 85-87) and, indeed, other sections of the pleading are
entirely inconsistent with even the naked allegation of concealment.

Again, Suffolk claims that Exhibit A to its Amended Complaint is the result of an
investigation into the difference between reported AWPs and “true” AWPs (Am. Compl. f 4, 7.
13), but it does not explain how it conducted its investigation or why it could not have discovered
the alleged fraud any earlier than it did, especially in light of the extensive public record
showing that AWP greatly exceeded market prices. Since Suffolk has the burden of
demonstrating due diligence, its reliance on fraudulent concealment to toll the statutes of
limitation fails as a matter of law. Berkson v. Del Monte Corp., 743 F.2d 53, 55-57 (1"' Cir.
1984). Furthermore, the Amended Complaint references “governmental studies” regarding AWP

37
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 14 of 16

and there is an explicit reference to a 1996 Dow Jones news article which describes AWP as
“Ain’t What’s Paid”. See Bill Albert, “Hooked on Drugs: Why Do insurers Pay Such
Outrageous Prices for Pharmaceuticals”, BARRON’S, June 10, 1996, at 15. Under the
circumstances, there is no basis for a claim of fraudulent concealment.

Because there was no concealment and because the facts were publicly known,
Suffolk cannot contend that any of the relevant statutes of limitations applicable to its causes of
action have been tolled. Thus, to the extent any of Suffolk’s claims are not dismissed, those
claims must be limited in time to their respective limitations period counted backward from the
date of the Complaint or Amended Complaint.

Conclusion

For all the above reasons, Suffolk’s complaint should be dismissed in its entirety.

Dated: New York, New York
September 15, 2003

Respectfully submitted,
ON BEHALF OF ALL SERVED DEFENDANTS

By: feu Tot 00-4
Nicholas‘C. Theodorou (BBO #496730)
Lucy Fowler (BBO #647929)
FOLEY HOAG LLP
155 Seaport Boulevard
Boston, MA 02210
(617) 832-1000

D. Scott Wise (admitted pro hac vice)
Kimberly Harris (admitted pro hac vice)
DAVIS POLK & WARDWELL

450 Lexington Avenue

New York, NY 10017

(212) 450-4000

38
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 15 of 16

CERTIFICATE OF SERVICE

I certify that on September 15, 2003, a true and correct copy of the foregoing Motion to
Dismiss the Amended Complaint, the Consolidated Memorandum of Law in Support of
Defendants’ Motion to Dismiss the Amended Complaint, and the accompanying Appendix of
Exhibits hereto, were served on all counsel of record by electronic service pursuant to Paragraph
11 of Case Management Order No. 2 by sending a copy to Verilaw Technologies for posting and
notification to all parties.

fp AsAAA Goto

Lucy Fowfer

39
Case 1:01-cv-12257-PBS Document 510-4 Filed 09/15/03 Page 16 of 16

CERTIFICATION PURSUANT TO LOCAL RULE 7,1

Pursuant to Local Rule 7.1(A)(2), the undersigned certifies that counsel for defendants
conferred with counsel for plaintiffs in an effort to resolve the dispute referred to in this motion,

and that the parties have not been able to reach agreement with respect thereto.

touy TBrrter

Lucy Fowler

40
